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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                          Chapter 11
    In re:
                                                                          Case No. 23-11131 (TMH)
    AMYRIS, INC.,
                                                                          (Jointly Administered)
                                        Debtors.1
                                                                          Related Docket No. 1170


             SUPPLEMENTAL DECLARATION OF PHILIP J. GUND IN SUPPORT OF
             CONFIRMATION OF THIRD AMENDED JOINT CHAPTER 11 PLAN OF
             REORGANIZATION OF AMYRIS, INC. AND ITS AFFILIATED DEBTORS
                    UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

             I, Philip J. Gund, pursuant to section 1726 of title 28 of the United States Code, hereby

declare that the following is true to the best of my knowledge, information, and belief:

             1.     I am the Chief Restructuring Officer of the above-captioned debtors and debtors in

possession (the “Debtors”), effective as of the Petition Date (as defined below). On January 22,

2024, the Debtors filed the Declaration of Philip J. Gund in Support of Confirmation of Amended

Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors Under Chapter

11 of the Bankruptcy Code [Docket No. 1176], which is incorporated herein by reference.

             2.     I submit this supplemental declaration in support of confirmation of the Third

Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors Under

Chapter 11 of the Bankruptcy Code [Docket No. 1170] (the “Plan”) to address certain recent

developments concerning the Debtors’ commercial relationship with Givaudan SA (“Givaudan”).2



1
       A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal place
       of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
       Emeryville, CA 94608.
2
       A capitalized term used but not otherwise defined herein have the meanings ascribed to them in the Plan.


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          3.        Except as otherwise noted, I have personal knowledge of the matters set forth

herein. If I were called to testify as a witness in this matter, I could and would testify competently

to the facts set forth herein.

                                         Givaudan Settlement

          4.        The Debtors have been engaged in good faith arms’ length negotiations with

Givaudan since the commencement of these Chapter 11 Cases. On January 23, 2024, these

negotiations culminated in the Givaudan Term Sheet, which provides for a comprehensive

restructuring of the business relationship between Givaudan and the Debtors. Moreover, the entry

into the Givaudan Term Sheet was a condition precedent to the effectiveness of the previous global

resolution reached between the Debtors and DSM-Firmenich.

          5.        The Givaudan Term Sheet provides the Debtors with, among others, the following

beneficial terms: (i) improved pricing and payment terms for the Debtors, (ii) waiver of substantial

unsecured claims against the Estates, (iii) and provides for the continuation of collaboration efforts

among the Debtors and Givaudan. Accordingly, I believe that the terms and conditions of the

Givaudan Term Sheet are fair, reasonable, and in the best interests of the Debtors and their Estates.

I further believe that the Debtors’ agreement among the Debtors and Givaudan constitutes a good

faith compromise of Claims and controversies related to Givaudan.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Dated: January 23, 2024                         /s/ Philip J. Gund
                                                Philip J. Gund
                                                Chief Restructuring Officer of Amyris, Inc.
                                                and Its Affiliated Debtors




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